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                                 UMTED STATES DISTRICT COURT
                               EASTERN DISTRICT OF NORTH CAROLINA                               6
                                        SOUTHERN DIYISION
                                             'l:aqcP- \ n-lrna
                                                         11€nn51
                                          NO.


      UNITED STATES OF AMERICA                          )
                                                        )
                                                        )     INDICTMENT
                                                        )
      LIAM MONTTGOMERY COLTJNS,                         )
      PAUL JAMES KRYSCUK                                )



             The Grand Jury charges:

                                             COUI\TT ONE

             Beginning in or about May 2019, and continuing to the present, in the Eastern

      District of North Carolina and elsewhere, the defendants, T,IAM MONIGOMERY

      COLLINS antl PAUL JAMES KRYSCUK, did conspire, confederate, and agree with

      others, both known and un-known to the Grand Jury, to commit offenses against the

      United States in violation of Title 18, United States Code, Section 922(a)(1)(A), bv

      willfully   and.   knowingly without licensute, engage in the business of manufacturing

      firearms and in the course ofsuch business to ship, transport, and receive any fuearm

      in interstate commerce, and to commit offenses against the United States in violation

      of Title 18, United States Code, Section g22(a)(3),by transporti-ng i.nto and receiving

      into North Carolina a firearm obtained outside the State of North Carolina without

      licensure.



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                                PURPOSE OF THE CONSPIRACY

          It was the purpose of the                conspiracy     for the   defendants, LIAM

    MONTGOMERY COLLINS and PAUL JAMES IGYSCUK, to unlawtully enrich

    themselves antl others, by among other things, manufacturing and selling hard to

    obtain firearms aDd firearm parts in a manner that the "government woulil not know"

    the purchasers had them.

                                           OVERTACTS

          In furtherance of the conspiracy and to achieve the object thereof, at least one
               rl
    of the following overt acts, among others, were committed by the defendants LIAM

    MOI.{TGOMERY COLLINS antl PAUL JAMES KRYSCUK in the Eastern District

    of North Carolina, between May 2019 and the present:

          1.    On    April   24, 2020, defendant LIAM MONTGOMERY COLLINS accepted

    $1,500 transferred        to his personal   account   in payment for a I mm pistol and
    suppressor which were to be manufactured by defendant PAUL JAMES KRYSCUK.

          2.        Shortly thereafter, defendant PAUL JAMES KRYSCIIK received the

    $1,500 in his VENMO accgunt, transfer"red the monies to his personal bank account,

    and made purchase from vendors known to sell solvent traps.

          3.    Using the alias "Shaun Corcoran," defendant PAUL JAMES KRYSCUK

    then mailed the resulting pistol and suppressor from Idaho to Jacksonville, North

    Carolina, on or about Jure l7,2O2O.

          Al1 in violation of    Title 18, United States Code, Section 371.


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                                         COUNT TWO

         On or about June 1?,       2O2O,   n   the Eastern District of North Carolina and

elsewhere, the defendants,       LIAM MOI\IIGOMERY COLLINS anil PAUL JAMES
KRYSCUK, aiiling and abettiag one another, not being                       a   licensed importer,

manufacturer, dealer, and collector of firearms, withi:r the meanjng of Chapter 44,

Title 18, Uniteit .states Code, willfully did transport into the State                 of    North

Caroliha, where LIAM MONTGOMERY COTLINS then resided, a 9mm pistol with

suppressor, said firearm having been manufactured and obtained by the defendants

outside the State of North Carolina,            in violation of Title 18, United States Code,
Sections 922(a)(3) and 924(a)(1)(b) and 2.

                                            COUNT THREE

         On or about September LL,2020, in the Easterd District of North Carolina and

elsewhire, the defendants, LIAM MONTGOMERY COLLINS alrd PAUL JAMES

KRYSCUK aiding and abetting one another, knowingly transported and delivered

from Idaho to Penusylvania, in interstate commerce, a firearm, specifically, a weapon

made from a rifle modified to have an overall length ofless than 26 inches or a barrel or barrels   of

less than 16 inches   in length, not registered as required by Chapter 53 of Title 26, in

violation of Title 26, United States Code, Sections 5841, 58610, and 5871, and                      18

u.s.c.   $ 2.




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       Notice is hereby.given that all right, title and interest in the property described

herein is subject to forfeiture.

       Upon conviction ofany violation ofthe Gun Control Act, the National Firearms

Act, or any other offense charged herein that involved or was perpetrated in whole or

in part by the use of firearms or ammunition, the defendant shall forfeit to the United

States, pursuant to 18 U.S.C. S 924(d) and/or 26 U.S.C. $ 5872, as made applicable by

28 U.S.C. $ 2a61(c), any and all firearms and amrn unition that were involved in or

usetl in a knowing or   willful    commission of the offense, or, pursuant to 18 U.S.C.

$ 3665,   that were found in the possession or under the immediate control of the

defendant at the time of arest.

      The forfeitable property includes, but is not limited to, the following:

      Pe rsonal   Propertv:

       a) One 9mm pistol and suppressor, not serialized, seized on June 18, 2020
           from indivitlual JH and any and all associated ammunition.

     If any of the above-described       forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence; has

been transferred or sold to, or deposited with, a third party; has been placed beyond

the jurisdiction ofthe court; has been substantially diminished     il   value; or has been

commingled with other property which cannot be divided without diffisulfy;         it is the

intent ofthe United States, pursuant to Title 21, United States Cotle, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the
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forfeitable property described above.



                                                                     REDACTED VERSION
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ROBERTJ. HIGDON, JR.
United States Attorney
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BY: BARBARA D. KOCHER
Assistant United States Attorney




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